Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 1 of 6




                       Exhibit 1
      Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 2 of 6
          Case 2:10-md-02179-CJB-SS Document 12193-1 Filed 01/21/14 Page 1of 5


                                               LAW OFF ICES

                                  WILLIAMS 8 CONNOLLY LLP
                                         725 TWELFTH ST REET, N.W.

                                       WASHINGTON, D. C. 20005-5901          epbard hehnbtt          uaao-isee)
KEVIN M. DOWNEY                                                                 PAUL R~ CONholly n&as-iez&y
 ( 2 0 2 ) 434-5460                           (202) 434-5000
 kdowney0wo.com                             FAX (20 2) 434-5029




                                            January 21,2014



   By Electronic Mail and Express Delivery

   Honorable Louis J. Freeh, Esq.
   Office of the Special Master
   935 Gravier Street, Suite 1160
   New Orleans, Louisiana 70112



             Re:      In re: Deevwater Horizon. MDL10-2179 and Case No. 12-970

   Dear Special Master Freeh:

          This law firm, among others, represents BP Exploration & Production, Inc., BP America
   Production Company, and BP p.l.c. ("BP") in the above-captioned matter.

           We have reviewed your report dated January 17,2014, your earlier report dated
   September 6,2013, and your Motion for Return of Payments Made To Casey Thonn and Others.
   We write to request the opportunity to review certain of the materials that you examined as part
   of your work leading to those filings, including the materials already available to other parties.
   A full list of materials requested is set forth inthe attachment Our proposed review is for the
   purpose of determining whether BP will file to seek a future modification pursuant to Federal
   Rule of Civil Procedure 53 of any of the January 17, 2014 report's factual findings or
   recommendations. If this request for documents should instead be addressed by the Court, we
   ask that you please let us know so that we may prepare the appropriate motion.

           BP is appreciative of the tremendous effort that you and your staff have invested in
   investigating the facts set forth in your reports and motion. Those facts are enormously
   troubling, particularly viewed in combination.

          As you know, BP devoted substantial resources to ensure that the operation of the Court
   Supervised Settlement Program ("CSSP") would be ethical, efficient, and fair. It continues to do
    Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 3 of 6
       Case 2:10-md-02179-CJB-SS Document 12193-1 Filed 01/21/14 Page 2 of 5

WILLIAMS 8 CONNOLLY LLP



  Honorable Louis J. Freeh, Esq.
  January 21,2014
  Page 2



  so. BP finds itself, in return, a target ofmail and wire fraud (First Freeh Report at 82-84, 87),
  money laundering schemes (id. at 84-87), and conspiracy (id at 86-87), all advanced by multiple
  acts of peijury(id) and possible obstruction of justice (Second Freeh Report at 5, n,1).
  Favoritism in claim processing has been found on multiple occasions (First Freeh Report at 21­
  25,45-57, 62-65), and, such acts seem to continue (Second Freeh Report at 1-4). Those within
  the CSSP who were charged with setting a tone for ethicsand fair play instead engaged in highly
  problematic conduct at an establishment that was a BEL claimant, soliciting their fellow CSSP
  employees (some willing, some not) to witness their misconduct, all the while exposing the
  multi-billion dollar facility (funded by BP) to the risks of bribery and presumably extortion.
  (Second Freeh Report at 5).

          Sadly, the misconduct seems to have no limit and no end. Just last month, in an act
  unimaginable to most, a current and former senior CSSP employee communicated with each
  other in an effort that appears to have beenaimed (unsuccessfully) at concealing evidence from
  you and your team. (Id at 5, n.l).

          The continued misconduct confirms that the facility continues to require the ongoing
  oversight of the Freeh Group. More than eighteen months after operations began and despite
  significant guidance and suggestions from the Special Master over the pastsix months, basic
  elements of.compliance and control, which are elementary in entities a fraction the CSSP's size,
  apparently still exceed the abilities of the CSSPleadership and staff

          Reading your recommendations sheds light on how the CSSP got here. A strong tone on
 ethical issues from top management is lacking; appropriate evaluations and audits of compliance
 are still missing; the basic procedures governing the CSSP's communication with claimants are
 so underdeveloped that conflicts and manipulation can result - and do. Although your earlier
 report, issued four months ago, directed some stern measures, the report of Friday finds it
 necessary to set forth some of the very same recommendations, because the CSSP has obviously
 failed to implement those recommendations despite being given ample time and resources to do
 so.

         The report's recommendations will not draw dispute from BP. But we believe that the
 facts in the report suggest that the deficienciesidentified have had and will continue to have a
 significant impact on BP's interests and thusmay merit more drastic action.

         BP cannot be expected to stand by while the facility continues to operate slowly,
 inefficiently, exposed to the risk of fraud, and in a fashion that is error-prone and tone-deaf, to
 ethical concerns. Hence, we are evaluating whether the facts set forth in your reports merit
 recommendations in addition to those set forth in those reports. We are hopeful that our review
 of the documents requested will advance that evaluation.
      Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 4 of 6
        Case 2:10-md-02179-CJB-SS Document 12193-1 Filed 01/21/14 Page 3 of 5

WILLIAMS 6 CONNOLLY LLP

  Honorable Louis J. Freeh, Esq.
  January 21,2014
  Page 3


          BP appreciates the work of the Special Master and the Freeh Group. As you know, BP
  has substantial interests at stake, and BP is the entity that will almost surely suffer most from the
  lapses that you have identified.

          We are simultaneously apprising the Court and the other parties of this request.




  Attachment


  cc:    The Honorable Carl J. Barbier
         The Honorable Sally Shushan
         Patrick A. Juneau, Esq.
         Stephen J. Herman, Esq.*
         James P. Roy, Esq.*
         Michael S. Walsh, Esq.*
         Mary Olive Pierson, Esq.*
         Lewis O. Unglesby, Esq.*
         Pauline F. Hardin, Esq.*
         William W. Taylor, III, Esq.*
         William P. Gibbens, Esq.*
         Stephen M. Gele, Esq.*
         Douglas S. Draper, Esq.*
         Harry Rosenberg, Esq.*
         Kyle Schonekas, Esq.*

  *      Transmitted via electronic mail only.
Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 5 of 6
  Case 2:10-md-02179-CJB-SS Document 12193-1 Filed 01/21/14 Page 4 of 5



                                   Attachment A
                     (BP's Request to Review Certain Materials)

1. All documents provided by the Special Master to Lionel Sutton, Christine Reitano, Jon
   Andry, Glen Lerner, and any associated law firms, including, but notlimited to, those
   documents provided pursuant to the Court's Sept 19,2013 Order, Rec. Doc. 11442;
   October 16,2013 Order, Rec. Doc. 11664; Oct. 24,2013 Order, Rec. Doc.11729; or
   Dec. 19,2013 Order, Rec. Doc. 12026.
2. Documents that provide the factual basis for the disclosures in theJanuary 17,2014       .
   Report ofthe Special Master concerning the "October 2,2013 Email and Subsequent
   Events," including:
       a. The October 2,2013 email from"an appeals panelist regarding a claimant
          represented by Duval, Funderburk, Sundbery, Lovell & Watkins APLC."
       b. Documents related to DavidH. Duval's handling of the October2,2013 email,
          including the email Mr. Duvalforwarded to his private Hotmail account on
          October 3,2013 at 11:37 a.m. andthe email Mr. Duval forwarded from his
          Hotmail account to Stanwood Duval on October 3,2013 at 12:28 pjn.
       c. Any witness statements related to the October 2,2013 email identified in the
          Special Master's January 17,2014 Report.
       d. Documents related to Duval, Funderburk, Sundbery, Lovell & Watkins APLC's
          October 4,2013 report to JudgeShushan.
       e. David Duval's signed conflict of interest policies datedMay 1,2012 and July 17,
          2012.
       fi David Duval's signed confidentiality certification dated July 16,2012.
3. Sworn statement of David Duvaltaken by the Special Master and any documents
   appended to or exhibits to that statement.
4. Sworn statement of C. BerwickDuval taken by the Special Master and any documents
   appended to or exhibits to that statement.
5. Sworn statement of Stanwood "Stan" Duval taken by the Special Master and any
   documents appended to or exhibits to that statement
6. Other witness statements related to the facts recited in the January 17,2014 Report ofthe
   Special Master, including, but not limited to, statements or transcripts of David Odom
   and Kirk Fisher.
7. Documents that provide the factual basis for the disclosures in the January17,2014
   Report of the Special Master concerningthe "Other Information Learned During
   Investigation," including:
       a. Documents, transcripts, or witness statements related to the statement by a CAO
          employee that he was "not comfortable" engaging in the activit   y described on
          pages four and five of the January17,2014 Report of the Special Master.
Case 2:10-md-02179-CJB-DPC Document 12254-2 Filed 01/29/14 Page 6 of 6
  Case 2:10-md-02179-CJB-SS Document 12193-1 Filed 01/21/14 Page 5 of 5



        b. Financial records of David Duval reviewed by the Special Master, including but
           not limited to:
                i. three checks from a company owned by Kirk Fisher; and
               ii. evidence of payments by David Odomto David Duval.
        c. Records of expenses at the "bar" identified in the January17,2014 Report of the
           Special Master.
        d. Records of.the text message from Mr. Duval to Mr. Fisher, including records
           demonstrating the deletion of such messages, which are referenced onpage five of
           the January 17,2014 Report of the Special Master.
        e. Documents related to the results of the "full audit" that page five of the January 17,
           2014 Report of the Special Master states "is sch   eduled by an outside accounting
           firm."
 8. Documents that led (in whole or in part) to the "Recommendations" in the January 17,2014
    Report of the Special Master, including such documents:
        a. concerning training;
        b. concerning the evaluation, audit and testing of compliance efforts;
        c. bearing on the "risk" in the CSSP's "claimant friendly ... approach";
        d. concerning the communications policy; and
        e. concerning the involvement of the Fraud, Waste and Abuse Coordinator.
 9. Transcripts or other witness statements reflecting statements byPatrick Juneau, Michael
    Juneau, David Odom, Kirk Fisher, or other senior CAOstaff concerning the settlement
    program's controls, including but not limited to concerning:
        a. compliance and standards of conduct;
        b. fraud prevention;
        c. claims processing;
        d. controls relating to vendors and budgeting; and
        e. information technology.
 10. Documents related to the knowledge of PatrickJuneau concerning any of thefacts
     identified in either the January17,2014, or September 6,2013 Report of the Special
     Master.
 11. All documents referenced inthe September 6,2013 Report of the Special Master.
 12. Transcripts of interviews by the Special Master of CAO employees and any documents
     appended to or exhibits to the transcriptsof such interviews.
 13. Documents provided by CAO employees to the SpecialMaster as part of, or in advance
     of, interviews.




                                              2
